    Case 1:23-mc-00073-CKK-MAU              Document 1       Filed 07/28/23   Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SMARTMATIC          USA     CORP.,
 SMARTMATIC          INTERNATIONAL
 HOLDING B.V., and SGO CORPORATION                              Case No. 23-2200
 LIMITED,                                             [D. Minn. Case No. 22-cv-0098-WMW-
                                                                      JFD]
                       Plaintiffs,

                  v.                                     DEFENDANTS’ MOTION TO
                                                        COMPEL COMPLIANCE WITH
 MICHAEL J. LINDELL and MY PILLOW,                       DEPOSITION SUBPOENA TO
 INC.,                                                      CARLOTTA WELLS

                       Defendants.


       Pursuant to Fed. R. Civ. P. 45, Defendants Michael Lindell and My Pillow, Inc. move the

Court to compel Carlotta Wells to provide deposition testimony pursuant to a subpoena served

upon her in this proceeding, within 14 days of the Court’s order.

       This Motion is based upon all the pleadings, files, records, and proceedings herein,

including without limitation Defendants’ accompanying Memorandum in Support of Motion to

Compel Compliance with Deposition Subpoena to Carlotta Wells and the Declarations of Andrew

D. Parker and Michael J. Lindell.

       Counsel for the Defendants engaged in the required LCvR 7(m) discussion with counsel

for Ms. Wells concerning this motion, through a teleconference on May 23, 2023, and through

correspondence prior to May 23, 2023, and by email correspondence on July 20 and 24, 2023. This

motion is opposed by Ms. Wells.
   Case 1:23-mc-00073-CKK-MAU   Document 1     Filed 07/28/23    Page 2 of 2




DATED: July 28, 2023            PARKER DANIELS KIBORT LLC


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